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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


HIRAN RODRIGUEZ                                                    CIVIL ACTION

VERSUS                                                             NO. 25-197

META PLATFORMS, INC, ET AL                                         SECTION: "I" (2)


                                           ORDER

       The undersigned United States District Judge recuses himself from further participation

in this case pursuant to 28 U.S.C. § 455(a). The Clerk of Court is ORDERED to reallot the

above-captioned case to another section of this court. All dates remain in effect unless modified

by the judge to whom this case is transferred.

       New Orleans, Louisiana, this 29th day of January, 2025.



                                             _________________________________
                                                     LANCE M. AFRICK
                                             UNITED STATES DISTRICT JUDGE

   January 30, 2025
